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   7
   8                                 UNITED STATES DISTRICT COURT
   9                             CENTRAL DISTRICT OF CALIFORNIA
  10
  11 CONSTRUCTION LABORERS                           CASE NO.:
     TRUST FUNDS FOR SOUTHERN
  12 CALIFORNIA ADMINISTRATIVE                       COMPLAINT FOR:
     COMPANY, a Delaware limited
  13 liability company,                              1. MONETARY DAMAGES DUE TO
                                                        EMPLOYEE BENEFIT PLANS
  14                    Plaintiff,
                                                     2. SPECIFIC PERFORMANCE OF
  15        v.                                          OBLIGATION TO PRODUCE
                                                        RECORDS FOR AUDIT
  16 NEAL ELECTRIC CORP., a
     California corporation doing business
  17 as NEAL ELECTRIC, INC.,
                                                     [29 U.S.C. §§ 1132(g)(2) and 1145;
  18                     Defendant.                  29 U.S.C. § 1132(a)(3); 29 U.S.C. § 185]
  19
  20             Plaintiff, Construction Laborers Trust Funds for Southern California
  21       Administrative Company, a Delaware limited liability company, alleges:
  22
  23                                   JURISDICTION AND VENUE
  24
  25             1.     This action is brought by a fiduciary administrator on behalf of
  26       employee benefit plans against an employer. It is brought in accordance with the
  27       terms and conditions of the plans, the collective bargaining agreements to which the
  28       employer is bound and applicable statutes to: (a) recover unpaid monthly employee

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   1       fringe benefit contributions, liquidated damages, damages due to the employer’s
   2       violation of provisions of the agreements, interest and audit fees due to the plans by
   3       the employer through enforcement of the terms of the collective bargaining
   4       agreements, plan agreements and applicable statutes (Claim 1); and (b) compel the
   5       employer to produce records for a complete audit to determine if additional amounts
   6       are due (Claim 2). This Court has jurisdiction pursuant to: sections 502(g)(2) and
   7       515 of the Employee Retirement Income Security Act (ERISA) (codified at
   8       29 U.S.C. §§ 1132(g)(2) and 1145); section 502(a)(3) of ERISA (codified at
   9       29 U.S.C. § 1132(a)(3)); and section 301 of the Labor Management Relations Act
  10       (LMRA) (codified at 29 U.S.C. § 185). Pursuant to section 502(e)(2) of ERISA
  11       (codified at 29 U.S.C. § 1132(e)(2)), venue is proper in this district for each of the
  12       following reasons: the plans are administered in this district; the employer's
  13       performance and breach took place in this district; and the employer resides or may
  14       be found in this district.
  15
  16                                             PARTIES
  17
  18             2.     Plaintiff ("ADMINCO") is an administrator of, agent for collection for, a
  19       fiduciary to, and brings this action on behalf of the following employee benefit
  20       plans: Laborers Health and Welfare Trust Fund for Southern California;
  21       Construction Laborers Pension Trust for Southern California; Construction Laborers
  22       Vacation Trust for Southern California; Laborers Training and Re-Training Trust
  23       Fund for Southern California; Fund for Construction Industry Advancement; Center
  24       for Contract Compliance; Laborers Contract Administration Trust Fund for Southern
  25       California; Laborers' Trusts Administrative Trust Fund for Southern California;
  26       Southern California Partnership for Jobs Trust Fund; San Diego County
  27       Construction Laborers Pension Trust Fund; and San Diego Construction
  28       Advancement Fund 2003 (collectively "TRUST FUNDS"). Each of the TRUST

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   1       FUNDS is an express trust created by written agreement, an employee benefit plan
   2       within the meaning of section 3(3) of ERISA (29 U.S.C. § 1002(3)), and a multi-
   3       employer plan within the meaning of section 3(37)(A) of ERISA (29 U.S.C.
   4       § 1002(37)(A)). Each of the TRUST FUNDS exists pursuant to ERISA and section
   5       302 of the LMRA (29 U.S.C. § 186). ADMINCO and the TRUST FUNDS'
   6       principal places of business are in the County of Los Angeles, State of California.
   7             3.    ADMINCO is a fiduciary as to the TRUST FUNDS, in that it:
   8                   A.     Exercises discretionary authority or discretionary control
   9                   respecting the collection of delinquent (or possibly delinquent)
  10                   contributions to the TRUST FUNDS, including but not limited to
  11                   discretion in auditing employers, deciding what claims to assert, acting
  12                   as agent of the TRUST FUNDS in asserting claims, waiving liquidated
  13                   damages, settling claims, and releasing claims; and
  14                   B.     Exercises authority or control respecting management or
  15                   disposition of assets of the TRUST FUNDS, including but not limited to,
  16                   receiving delinquent contributions collected and holding them in a bank
  17                   account in its own name over which it has check-writing authority, and
  18                   then exercising discretion in allocating those assets among the different
  19                   TRUST FUNDS, different participants, different time periods and
  20                   different jobs.
  21             4.    ADMINCO is informed and believes, and on that basis alleges, that
  22       defendant NEAL ELECTRIC CORP., also known and doing business as NEAL
  23       ELECTRIC, INC., (“EMPLOYER”) is a California corporation organized and
  24       existing under the laws of the State of California; has principal place of business in
  25       the City of Vista, County of San Diego, State of California and does, or at all
  26       relevant times did, business in the State of California as a construction contractor in
  27       an industry affecting interstate commerce.
  28       ///

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   1                                        AGREEMENTS
   2            5.     The EMPLOYER, as an eligible member of the Associated General
   3       Contractors of California, Inc., (“AGC”) a multiemployer bargaining association of
   4       contractors, became bound to certain collective bargaining agreements of the
   5       Southern California District Council of Laborers and its affiliated Local Unions
   6       (collectively "Laborers Union") known as the Construction Master Labor
   7       Agreements, including one known as the Southern California Master Labor
   8       Agreement in or about November 29, 2017. In addition, EMPLOYER executed
   9       subscription agreements for work on projects covered by (1) an agreement known as
  10       the Los Angeles County Metropolitan Transportation Authority project labor
  11       agreement (“LACMTA”) in or about June 2017; and (2) an agreement known as the
  12       San Diego Unified School District Project Stabilization Agreement Construction and
  13       Major Rehabilitation Funded by Proposition S “(SDUSD PSA”) initially in August
  14       2013.
  15            6.     Pursuant to the Construction Master Labor Agreements, the LACMTA
  16       project labor agreement and the SDUSD PSA, employers become – and the
  17       EMPLOYER became – bound to the terms and conditions of the various trust
  18       agreements that created each of the TRUST FUNDS ("Trust Agreements"). When
  19       referenced collectively hereinafter, the Construction Master Labor Agreements,
  20       LACMTA and SDUSD PSA and Trust Agreements are referred to as the
  21       “Agreements."
  22            7.     Under the terms of the Agreements, employers, including the
  23       EMPLOYER, are required to submit monthly fringe benefit contributions ("Monthly
  24       Contributions") to the TRUST FUNDS for all hours worked by (or paid for) their
  25       employees who perform work covered by the Agreements ("Covered Work").
  26            8.     Under the terms of the Agreements, employers, including the
  27       EMPLOYER, are required to submit to the TRUST FUNDS, with their Monthly
  28       Contributions, monthly reports, itemized by project, listing the names of their

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   1       employees who performed Covered Work, their Social Security numbers, the hours
   2       of work performed by (or paid for) each, and the resulting Monthly Contributions
   3       due for them ("Monthly Reports"). The TRUST FUNDS rely on Monthly Reports –
   4       and the accuracy of those reports – to determine the amount of Monthly
   5       Contributions due to the TRUST FUNDS by employers and the credit toward fringe
   6       benefits to be allocated to their employees.
   7            9.     The Agreements provide for the payment of interest on delinquent
   8       Monthly Contributions from the date due at a rate set by the trustees of the TRUST
   9       FUNDS. The trustees have set that rate at five percent (5%) above the prime rate set
  10       by the Federal Reserve Board of San Francisco, California. The Agreements also
  11       provide for the payment of liquidated damages for each month of delinquent
  12       Monthly Contributions or Monthly Reports, for each TRUST FUND separately, in
  13       the amount of twenty percent (20%) of the delinquent Monthly Contributions due to
  14       the Trust Fund or $25, whichever is greater (except with respect to the Laborers
  15       Contract Administration Trust Fund for Southern California, which assesses
  16       liquidated damages at the greater of $20 or ten percent (10%)). In addition,
  17       employers are required to pay fees for the submission of checks not honored by the
  18       banks upon which they are drawn.
  19            10.    The failure of employers to pay Monthly Contributions when due causes
  20       damages to the TRUST FUNDS and its participants beyond the value of the unpaid
  21       Monthly Contributions, which are difficult to quantify. Apart from the fees and
  22       costs incurred in litigation, the harm caused includes, but is not limited to, the
  23       administrative costs of processing and collecting delinquencies, the costs of
  24       adjusting benefit credits and notifying participants, the additional burden placed on
  25       contractors who faithfully pay their contributions, and the burden upon participants
  26       and beneficiaries who may be unable to qualify for benefits they may have otherwise
  27       been entitled to had it not been for the delinquency of their employer. The liquidated
  28       damages provision of the Agreements was meant to compensate for the loss to the

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   1       TRUST FUNDS, which is incurred even if the Monthly Contributions for a given
   2       month are later paid. It is based on the TRUST FUNDS' ratio of collection costs
   3       over amounts collected, which are regularly reported to the TRUST FUNDS'
   4       trustees. The Trustees of the TRUST FUNDS have the authority, in their discretion,
   5       to waive all or part of these liquidated damages. In this case, they have exercised
   6       their discretion by declining to waive any liquidated damages.
   7            11.    Under the terms of the Agreements, employers, including the
   8       EMPLOYER, agree to subcontract Covered Work only to entities that are signatory
   9       to a Construction Master Labor Agreement applicable to the work performed. If an
  10       employer subcontracts Covered Work to a non-signatory entity (“Subcontracting
  11       Violation(s)”), the employer becomes liable for damages to the TRUST FUNDS in
  12       an amount equal to the Monthly Contribution that would have been due if the entity
  13       had been signatory, plus interest, liquidated damages and audit fees thereon.
  14            12.    Under the terms of the Agreements, employers, including the
  15       EMPLOYER, agree not to subcontract Covered Work to entities that are delinquent
  16       to the TRUST FUNDS. If an employer subcontracts Covered Work to such an entity
  17       the employer becomes under the terms of the Agreements liable to the TRUST
  18       FUNDS for the Monthly Contributions due by the subcontractor and any lower-tier
  19       subcontractors, plus interest and audit fees thereon.
  20            13.    The Agreements provide the TRUST FUNDS with specific authority to
  21       examine the payroll and business records of employers, including the EMPLOYER,
  22       to determine whether they have reported all hours worked by (or paid for) their
  23       employees who perform Covered Work, and whether they have paid the appropriate
  24       Monthly Contributions and other amounts due by them to the TRUST FUNDS,
  25       and/or to determine whether the employers, including EMPLOYER are in
  26       compliance with the reporting and payment obligations of the Agreements. The
  27       Agreements further provide that employers, including the EMPLOYER, must
  28       maintain records sufficient for the TRUST FUNDS to verify proper Monthly

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   1       Reporting, and its compliance with the reporting and payment obligations of the
   2       Agreements, and, where there has been inaccurate Monthly Reporting, or other
   3       violations of the provisions of the Agreements, to determine the additional amounts
   4       due, and that the employer must pay the TRUST FUNDS' audit fees if it is
   5       delinquent to the TRUST FUNDS. The TRUST FUNDS have delegated the
   6       authority to perform such audits to ADMINCO.
   7            14.      The Agreements require employers to pay the TRUST FUNDS'
   8       attorneys’ fees and costs of litigation to enforce the Agreements' foregoing terms,
   9       including the Monthly Contribution, Monthly Reporting, subcontracting and audit
  10       provisions.
  11
  12                                  FIRST CLAIM FOR RELIEF
  13                     (For Monetary Damages Due to Employee Benefit Plans)
  14            15.      ADMINCO repeats, realleges and incorporates by reference each and
  15       every allegation contained in paragraphs 1 through 14 above as if fully set forth here.
  16            16.      As a result of EMPLOYER'S failure to pay the rates specified in the
  17       Agreements and its failure to comply with the subcontracting provisions of the
  18       Agreements, Plaintiff is informed and believes and thereupon alleges that there is
  19       now owing and unpaid to the TRUST FUNDS from EMPLOYER, during the period
  20       from July 1, 2017 to August 31, 2018, damages in the sum of at least $92,548.26
  21       consisting of $68,076.27 in unpaid Monthly Contributions, $13,605.07 in liquidated
  22       damages, $1,280.00 in audit fees; and $9,586.52 in interest on the late and/or unpaid
  23       Monthly Contributions owed to the TRUST FUNDS through March 17, 2020,
  24       (“Known Delinquency”), plus additional accrued interest at the plan rate(s),
  25       currently 5.25% per annum, until payment is made, as well as any additional
  26       Monthly Contributions, liquidated damages, Subcontracting Violation(s), audit fees
  27       and interest on the additional amounts owed at the plan rate(s) according to proof at
  28       the time of trial or other hearing. The amounts owed by EMPLOYER were not

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   1       discovered until the audit of EMPLOYER’S records was concluded in March 2019;
   2       therefore, the time within which to proceed with legal action to recover the amounts
   3       owed commenced at that time.
   4             17.     ADMINCO will establish by proof at the time of trial or through
   5       dispositive motion the Known Delinquency and any additional amounts determined
   6       to be due to the TRUST FUNDS by the EMPLOYER, including any additional
   7       Monthly Contributions, interest, liquidated damages, audit fees, fees for the
   8       submission of checks not honored by the bank upon which they were drawn,
   9       attorneys’ fees and costs, and amounts owed as a result of work performed by
  10       subcontractors of the EMPLOYER (or lower-tier subcontractors). If deemed
  11       necessary by the Court, ADMINCO will amend its complaint to add any additional
  12       amounts determined to be due. Any and all conditions to the EMPLOYER’s
  13       obligations under the Agreements to pay the Known Delinquency and any additional
  14       amounts due under the Agreements to the TRUST FUNDS have been met.
  15             18.     It has been necessary for the TRUST FUNDS to engage counsel to bring
  16       this action to compel compliance with the AGREEMENTS which provide that in the
  17       event litigation is necessary with respect to any of the fringe benefit Monthly
  18       Contributions and/or damages against EMPLOYER, then EMPLOYER would pay
  19       reasonable attorney's fees and all other reasonable expenses of collection, including
  20       audit fees.
  21             19.     Under the terms of the Agreements and Sections 515 and 502(g) of
  22       ERISA, EMPLOYER is liable to the TRUST FUNDS not only for the amount of
  23       delinquent Monthly Contributions but also (a) for pre-judgment and post-judgment
  24       interest on the delinquent sums (as provided for in Section 502(g) of ERISA); (b) for
  25       the higher of interest or liquidated damages (as provided for in Section 502(g) of
  26       ERISA); (c) for attorneys' fees; and (d) for other relief permitted by Section 502(g)
  27       of ERISA.
  28       ///

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   1                                SECOND CLAIM FOR RELIEF
   2            (For Specific Performance of Obligation to Produce Records for Audit)
   3             20.    ADMINCO repeats, realleges and incorporates by reference each and
   4       every allegation contained in paragraphs 1 through 19 above as if fully set forth here.
   5             21.    ADMINCO requested that the EMPLOYER produce its books and
   6       records for audit covering the period from July 1, 2017 to the date of the audit. The
   7       EMPLOYER has partially complied with ADMINCO’s request but has not fully
   8       produced its books and records for audit. ADMINCO requests that the Court
   9       exercise its authority under 29 U.S.C. §§ 1132(g)(2)(E) and 1132(a)(3) to order the
  10       EMPLOYER to comply with its obligation under the Agreements and ERISA to
  11       fully produce its books and records in order for ADMINCO to complete an audit to
  12       determine if additional amounts are due.
  13             22.    An award of attorneys’ fees and costs is provided for by Agreements and
  14       under sections 502(g)(1) and/or (g)(2) of ERISA (29 U.S.C. § 1132(g)(1) and/or
  15       (g)(2)).
  16
  17             WHEREFORE, ADMINCO prays for judgment as follows:
  18
  19                        ON ADMINCO'S FIRST CLAIM FOR RELIEF
  20                   [For Monetary Damages Due to Employee Benefit Plans]
  21             A.     For $68,076.27 in unpaid Monthly Contributions, as required by the
  22       Agreements and 29 U.S.C. § 1132(g)(2)(A).
  23             B.     For $9,586.52 in interest through March 17, 2020 on unpaid or late paid
  24       Monthly Contributions at the rate of five percent above the variable prime rate set by
  25       the Federal Reserve Board of San Francisco, California, plus such additional interest
  26       accrued thereafter as required by the Agreements and 29 U.S.C. § 1132(g)(2)(B).
  27             C.     For $13,605.07 in liquidated damages for unpaid and late-paid Monthly
  28       Contributions at, for each of the TRUST FUNDS separately, the greater of 20% or

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   1       $25 (except with respect to the Laborers Contract Administration Trust Fund for
   2       Southern California, for which liquidated damages are sought at the greater 10% or
   3       $20), as required by the Agreements and 29 U.S.C. § 1132(g)(2)(C).
   4             D.     For $1,280.00 in audit fees, as required by the Agreements and
   5       29 U.S.C. § 1132(g)(2)(E).
   6             E.     For, according to proof, any additional Monthly Contributions, interest,
   7       liquidated damages, audit fees, fees incurred by the TRUST FUNDS as a result of the
   8       submission of checks not honored by the bank upon which they were drawn, and
   9       amounts owed as a result work performed by any subcontractors of the EMPLOYER
  10       (or lower-tier subcontractors) determined to be due, pursuant to the Agreements and
  11       29 U.S.C. §§ 29 U.S.C. §§ 1132(a)(3)(B), 1132 (g)(2), and 1145.
  12             F.     For reasonable attorneys’ fees and costs of suit, as required by the
  13       Agreements and 29 U.S.C. § 1132(g)(2)(D).
  14             G.     For such other relief that this Court deems appropriate, pursuant to any
  15       authority of the Court, including but not limited to the authority established by 29
  16       U.S.C. §§ 1132(g)(2)(E) and 1132(a)(3).
  17
  18                      ON ADMINCO'S SECOND CLAIM FOR RELIEF
  19            [For Specific Performance of Obligation to Produce Records for Audit]
  20              A.    For the issuance of injunctive relief pursuant to the Agreements and
  21       29 U.S.C. §§ 1132(g)(2)(E) and/or 1132(a)(3) ordering the EMPLOYER and its
  22       managing officers, managing employees, agents and successors, as well as all those
  23       in active concert or participation with any one or more of them, to submit to an audit
  24       of the EMPLOYER’s records from at least July 1, 2017 to the date of the audit, fully
  25       cooperate with ADMINCO with respect to the audit in order for ADMINCO to
  26       determine the total amount due to the TRUST FUNDS by the EMPLOYER, and,
  27       specifically, to produce to ADMINCO the following payroll and business records –
  28       and any other records determined by ADMINCO to be necessary to conduct a full

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   1       audit – for inspection, examination and copying:
   2                    A.1. All of the EMPLOYER’s payroll and employee records, as well as
   3       any other records that might be relevant to a determination of the work performed by
   4       the EMPLOYER, its employees, its subcontractors, its lower-tier subcontractors and
   5       the employees of the EMPLOYER’s subcontractors and lower-tier subcontractors,
   6       including but not limited to payroll journals, employee earnings records, certified
   7       payroll records, payroll check books and stubs, cancelled payroll checks, payroll time
   8       cards and state and federal tax returns (and all other state and federal tax records), as
   9       well as labor distribution journals and any other records that might be relevant to an
  10       identification of the employees who performed work for the EMPLOYER, its
  11       subcontractors or lower-tier subcontractors, or which might be relevant to a
  12       determination of the projects on which the EMPLOYER, its employees, its
  13       subcontractors, lower-tier subcontractors or the employees of its subcontractors or
  14       lower-tier subcontractors performed work, including any records that provide the
  15       names, addresses, Social Security numbers, job classification or the number of hours
  16       worked by any one or more employee;
  17                    A.2. All of the EMPLOYER’s job files for each contract, project or job
  18       on which the EMPLOYER, its employees, its subcontractors, its lower-tier
  19       subcontractors or the employees of its subcontractors or lower-tier subcontractors
  20       worked, including but not limited to all correspondence, agreements and contracts
  21       between the EMPLOYER and any general contractor, subcontractor, owner, builder
  22       or developer, as well as all field records, job records, notices, project logs,
  23       supervisors' diaries and notes, employees' diaries and notes, memoranda, releases and
  24       any other records that relate to the supervision of the EMPLOYER’s employees, its
  25       subcontractors, its lower-tier subcontractors or the employees of its subcontractors
  26       and lower-tier subcontractors, or the projects on which the EMPLOYER, its
  27       employees, its subcontractors, its lower-tier subcontractors or the employees of its
  28       subcontractors or lower-tier subcontractors performed work;

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   1                    A.3. All of the EMPLOYER’s records related to cash receipts,
   2       including but not limited to the EMPLOYER’s cash receipts journals, accounts
   3       receivable journals, accounts receivable subsidiary ledgers and billing invoices for all
   4       contracts, projects and jobs on which the EMPLOYER, its employees, its
   5       subcontractors, its lower-tier subcontractors or the employees of its subcontractors or
   6       lower-tier subcontractors performed work;
   7                    A.4. All of the EMPLOYER’s bank statements, including but not
   8       limited to those for all checking, savings and investment accounts;
   9                    A.5. All of the EMPLOYER’s records related to disbursements,
  10       including but not limited to vendors' invoices, cash disbursement journals, accounts
  11       payable journals, check registers and all other records which indicate disbursements;
  12                    A.6. All collective bargaining agreements between the EMPLOYER
  13       and any trade union, and all records of contributions by the EMPLOYER to any trade
  14       union trust fund; and
  15                    A.7. All records related to the formation, licensing, renewal or
  16       operation of the EMPLOYER.
  17              B.    For reasonable attorneys’ fees and costs of suit, as required by the
  18       Agreements and provided for under 29 U.S.C. § 1132(g)(1) and/or (g)(2).
  19              C.    For such other relief that this Court deems appropriate, pursuant to any
  20       authority of the Court, including but not limited to the authority established by
  21       29 U.S.C. §§ 1132(g)(2)(E) and 1132 (a)(3).
  22
                                                  Alexander B. Cvitan,
  23                                              Marsha M. Hamasaki and
                                                  Peter A. Hutchinson of
  24                                              REICH, ADELL & CVITAN
                                                  A Professional Law Corporation
  25
  26
           DATED: March 18, 2020                  By:    /s/ MARSHA M. HAMASAKI
  27
                                                            MARSHA M. HAMASAKI
  28                                                          Attorneys for Plaintiff

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